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 COUNSEL FOR CREDITOR SAMNOSH, LLC

                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS

 IN RE: MOUNTAIN EXPRESS OIL                   §                  CASE NO. 23-90147
 COMPANY,                                      §
                                               §                     CHAPTER 11
                                               §
     Debtor                                    §

     SAMNOSH LLC’S FIRST AMENDED MOTION TO COMPEL REJECTION OF EXECUTORY
                  CONTRACT AND NOTICE OF OBJECTION DEADLINE

                                         NOTICE:

 If you object to the relief requested, you must respond in writing. Unless otherwise

 directed     by   the   Court,   you   must       file   your   response   electronically   at

 https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion was

 filed. If you do not have electronic filing privileges, you must file a written objection

 that is actually received by the clerk within twenty-one days from the date this motion

 was filed. Otherwise, the Court may treat the pleading as unopposed and grant the

 relief requested.

                                        Introduction

       Samnosh LLC moves the Court to compel Debtor Mountain Express Oil Company

(“Debtor”) to reject its petroleum products supply agreement with Movant under Fed. R. Bankr.




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P. 6006(a) and (c) because the contract is void or, in the alternative, because Debtor is in material

breach and its assumption would cause serious economic harm for Movant.

                                               Facts

       1.      Samnosh LLC, is the owner of a fuel station and convenience store located at

2439 Walnut Hill Lane, Dallas, Texas 75229 (the “Store”).

       2.      On December 18, 2018, Movant entered a petroleum products supply agreement

(the “Agreement”) with Mountain Express Oil Company. Under the Agreement, Debtor was to

provide Movant’s entire fuel capacity requirements, major oil company branding for the Store,

and merchant services for the Store. The Agreement is attached hereto as Exhibit A.

       3.      From minute one Debtor failed to perform its material obligations under the

Agreement. Debtor delayed 28 months before branding provided the Store and, to this very day,

has been regularly and substantially delinquent in making fuel deliveries. Because the Store was

forced to sell unbranded fuel (a huge competitive disadvantage) and did not have an adequate

and reliable supply of fuel and had no branded signage, Movant lost sales and its regular

customer base dwindled. See the 2017-2018 Fuel Purchase Summary and the 2019-2020 Fuel

Purchase Summary showing Movant’s fuel sales before and after the Agreement attached hereto

as Exhibits B & C, respectively.

       4.      Branding. Debtor was to pay for and install branding of the Movant’s store with a

“brand…associated with high quality service and products…” See Exhibit A, Sec. 3.

       5.      Schedule 3 of the Agreement states that the initial branding of the Movant was to

be 76 or Exxon. Because Debtor failed to provide branding as agreed, Movant had to brand the

Movant with “76” logos at its own expense in June 2019. Debtor finally did provide Valero

branding for the Movant in April of 2021, 28 months after entering into the Agreement.



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        6.     Fuel Delivery. The Agreement is a requirements contract. The Agreement

provides that “[Debtor] agrees to sell to customer…such quantities of [Debtor’s] petroleum and

other products as may be necessary to meet the customer demand for motor fuel products at the

Location.” See Exhibit A, Sec. 2(a).

        7.     The Agreement further requires that Debtor “will fill all orders with reasonable

promptness.”

        8.     From the beginning of the term of the Agreement, Debtor regularly failed to

provide Movant’s orders with reasonable promptness, resulting in Movant not having fuel for

days at a time. It is essential for a convenience store to always have fuel, as it is the principal

driver of inside sales. Moreover, when a c-store is consistently out of fuel, it loses customers

who never return, going across the street or around the corner instead.

        9.     Because fuel order delivery was sporadic at best, Movant was deprived of fuel for

significant periods of time resulting in an immediate loss of sales and a long-term loss of

customers, i.e., goodwill. Correspondence between Movant and Debtor regarding delayed fuel

delivery is attached hereto as Exhibit D.

        10.    Merchant Services. Under section 8 of the Agreement, Debtor has the sole right to

provide the credit card network for the fuel pumps and the in-store credit card sales. The

proceeds of those sales go directly into Debtor’s account and are only to be credited to future

fuel sales:

        Invoices from credit card sales shall be credited and paid to [Debtor] in
        accordance with fuel jobber (wholesaler) industry standards; provided that credit
        cards [sic] sales shall not be repaid to Customer but held on Customer’s account
        as additional credit against fuel purchases.

Exhibit A, Sec. 8.

        11.    In typical jobber/c-store arrangements, proceeds from credit card sales in excess


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of the cost of whatever is owed to the jobber for fuel are paid back to the c-store. Under the

present Agreement, however, Debtor indefinitely retains all funds received for credit card

purchases leaving Movant to operate a business on the meager cash sales it can muster, including

for inside sales.

        12.     Essentially, apart from the signing bonus, Movant receives no benefit from the

Agreement, and even revenue from sales that are unrelated to fuel are paid to Debtor. This is an

untenable business situation that will put Movant out of business if allowed to continue.

                                  Request to Compel Rejection

        13.     Movant requests that the court compel Debtor to reject the Agreement.

        14.     Under the terms of the Agreement, its terms are governed by the laws of Georgia

regarding contracts.

        15.     The Agreement is an executory contract as defined by § 365 of the Bankruptcy

Code. The terms of the Agreement render it void for unconscionability, lack of consideration,

and fraud. Even if the contract is not void for the foregoing reasons, Debtor has materially

breached by failing to provide branding, failing to provide Movant’s fuel capacity requirements,

and by not paying net proceeds of credit card transactions of the Movant.

        16.     The foregoing breaches have created substantial economic harm for Movant.

Specifically, Debtor’s failure to provide branding and Movant’s fuel capacity requirements have

caused the loss of sales and the loss of long-term customers. See Exhibits B & C.

        17.     Debtor has failed to provide adequate assurances that it will be able to remedy its

breaches; Debtor’s inability to meet Movant’s capacity requirements is ongoing, Debtor has

never paid any net proceeds for credit card sales to Movant, and Debtor refuses to provide a

clarification of the terms under which such a payment would ever be made.



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       18.     Movant will not have adequate revenue to support its operations if Debtor is

allowed to continue retaining all of Movant’s credit card sales.

A. The Court should compel rejection because the Agreement is void.

       19.     The Agreement is void and unenforceable because it is unconscionable, and

because there is a lack of consideration.

       20.     Unconscionability. Under the Uniform Commercial Code of Georgia, a contract

for the sale of goods is void if it is “unconscionable”:

       If the court as a matter of law finds the contract or any clause of the contract to
       have been unconscionable at the time it was made the court may refuse to enforce
       the contract, or it may enforce the remainder of the contract without the
       unconscionable clause, or it may so limit the application of any unconscionable
       clause as to avoid any unconscionable result.

OCGA § 11-2-302(1) (emphasis added).

       21.     While the UCC does not provide a definition for “unconscionability,” the Georgia

Supreme Court has stated that there are two types of unconscionability: (1) “procedural

unconscionability,” whereby there is a disparity between the sophistication, competency, or

bargaining position of the parties; and (2) “substantive unconscionability,” whereby the court

considers the terms of the contracts themselves. See Technologies, Inc. v. Nelson, 478 S.E.2d

769, 771 (Ga. 1996).

       22.     In this case, the Agreement is substantively unconscionable. When evaluating the

substantive unconscionability of a contract, the courts look to the commercial reasonableness of

the contract terms, the purpose and effect of the terms, the allocation of the risks between the

parties, and similar public policy concerns. Id at 772.

       23.     The terms of a contract are unconscionable when, “one side or the other is to be

penalized by the enforcement of the terms of a contract so unconscionable that no decent, fair



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minded person would view the ensuing result without being possessed of a profound sense of

injustice, that equity will deny the use of its good offices in the enforcement of such

unconscionability.” Id. at 775.

       24.     The Agreement obligates Movant to provide a storefront, convenience store

inventory, equipment, and personnel; and Debtor has the exclusive right to sell its fuel products

and to collect all credit card sales for the Movant, including sales of non-fuel inventory sold

inside the c-store, or what is known in the industry as “inside sales.”

       25.     Essentially, Debtor gets a free fuel depot where it sells fuel and collects all sales

of the Movant, with no obligation to provide compensation for its rights or even to reimburse

Movant for its inside sales:

       Invoices from credit card sales shall be credited and paid to [Debtor] in
       accordance with fuel jobber (wholesaler) industry standards; provided that credit
       cards [sic] sales shall not be repaid to Customer but held on Customer’s account
       as additional credit against fuel purchases.

Exhibit A, Sec. 8 (emphasis added).

       26.     Clearly, the terms of the Agreement are such that “no decent, fair minded person

would view the ensuing result without being possessed of a profound sense of injustice” from the

beginning.

       27.     Consideration. Under the Georgia Code, a contract is void without consideration.

OCGA § 13-3-40(a).

       28.     Under the Agreement, Debtor has the exclusive right to sell fuel to Movant and

the exclusive right to receive revenue from the sale of not only fuel, but the sale of the non-fuel

inventory of the Movant. See Exhibit A, Sec. 8. Additionally, Debtor has the right to dictate how

the Movant conducts business. Id. at Sec. 3.




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       29.     Further, the Agreement does not require Debtor to make any payments to Movant

at any time. And any funds received in excess of the fuel purchase requirements of the Movant

are not credited to Movant at any time. Apart from the signing bonus, Movant receives no benefit

from the Agreement. Accordingly, the Agreement is void for want of consideration.

       30.     Fraud. Despite the fact that there was a signing bonus that provided some

consideration, “the inadequacy is so great that it is a strong circumstance to evidence a fraud.”

OCGA § 13-3-46. Accordingly, the Agreement is void for being fraudulent on its face.

       31.     For the foregoing reasons, the court find the contract void and unenforceable and

compel Debtor to reject the Agreement.

B. The Court should deny assumption because Debtor is in breach of the Agreement.

       32.     In the alternative, Movant requests that the court compel rejection of the

Agreement because Debtor is in breach.

       33.     On December 18, 2018, Movant and Debtor executed a written contract. See

Exhibit A. The contract provided that Debtor would: 1) supply Movant’s fuel and petroleum

product capacity requirements; 2) provide major oil company branding of the Movant; and, 3)

provide merchant services for the Store. In exchange, Movant was to send all of its credit card

sales receipts to Debtor to be credited towards future fuel purchases.

       34.     Movant performed its contractual obligations as best it could, considering

Debtor’s material failure to perform.

       35.     Debtor breached the contract by continuously failing to provide Movant’s fuel

requirements. Debtor has never consistently met Movants capacity fuel requirements, and its

failure to do so has continued after petitioning the court for Chapter 11 relief.




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       36.     Debtor further breached the agreement by having never paid Movant any net

proceeds of credit card sales.

       37.     Debtor’s breach caused injury to Movant. Specifically, Movant has lost sales on

an ongoing basis due to not having fuel to sell to its customers, and it has lost regular customers

who might otherwise have purchased fuel and convenience Movant products from Movant. See

Exhibits B & C.

       38.     Movant requests that the court compel Debtor to reject the Agreement.

                                             Prayer

       For these reasons, Movant asks that Debtor be cited to appear and answer and that the

court compel rejection of the Agreement.

                                             Respectfully submitted,

                                             THE GIBSON LAW GROUP, P.C.


                                             By:
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                                             COUNSEL FOR SAMNOSH, LLC


                                   CERTIFICATE OF SERVICE

         On this 12th day of May 2023, a true and correct copy of the foregoing instrument was
 served through the Court’s CM/ECF system on all parties who receive such notice.




                                             David R. Gibson

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                     LOCAL RULE 4001-1(a) CERTIFICATE OF CONFERENCE

        I certify that Movant has conferred with opposing counsel on the requested relief, and the
parties hereto were not able to come to an agreement on the requested relief.




                                             David R. Gibson




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                  EXHIBIT A
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                                        PETROLEUM PRODUCTS SUPPLY AGREEMENT

           THIS PETROLEUM PRODUCTS SUPPLY AGREEMENT (“Agreement”) is entered into this 18th day of
           December 2018, between MOUNTAIN EXPRESS OIL COMPANY, a Georgia corporation having a mailing
           address of 5333 Bells Ferry Road, Suite 201, Acworth, Georgia 30102 (“Supplier”), SAMNOSH LLC, a
           Texas limited liability company and GAURAB BASNET, an individual resident of the State of Texas
           both having a mailing address of 2602 Howlite Lane, Rosharon, Texas 77583 (collectively, “Customer”).

           WHEREAS, this Agreement is for the fueling station that shall be known as Mountain Express Store #590,
           located at 2439 Walnut Hill Lane, Dallas, Texas 75229 (“Location”), as more particularly described on
           Schedule 1; and

           WHEREAS, the parties desire to enter into an agreement for Supplier to supply motor fuels to Customer
           at such Location.

           NOW THEREFORE, in consideration of the mutual undertakings herein contained, the sufficiency of which
           are hereby acknowledged, Supplier agrees to sell, and Customer agrees to buy, petroleum and other
           products on the following terms and conditions:

           1. TERM. This Agreement shall commence upon the Effective Date, as provided for on Schedule 7 as
           herein incorporated, and shall continue for ten (10) years (“Term”), and from month to month after
           the said Term unless either party gives written notice of non-renewal to the other party at least thirty
           (30) days prior to the expiration of the initial Term or the then existing extended term, or unless sooner
           terminated as otherwise hereinafter provided.

           2. SUPPLY OF PRODUCTS.

                    (a) Supplier agrees to sell to Customer, and Customer agrees to buy and diligently to promote
           the sale of all grades and such quantities of Supplier’s petroleum and other products as may be
           necessary to meet the customer demand for motor fuel products at the Location, and Customer must
           offer all grades of fuel available from Supplier for sale at all times. The Location may be more particularly
           described on Schedule 1 attached hereto and made part hereof. Supplier shall have the right to provide
           ethanol additives, when available, in the gasoline, at the discretion of Supplier. Any incentives or rebates
           provided by Supplier’s supplier relating to the sale of ethanol shall remain the property of Supplier. All
           fuel deliveries shall be made in full truckload quantities or in such other minimum quantities per delivery

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           as specified by Supplier from time to time. If customer requests delivery of less than Supplier’s
           established minimum volumes, compensatory delivery charges may be imposed. In no circumstances is
           Supplier obligated to make deliveries into a tank which is, or is suspected of leaking. Under this
           Agreement, Supplier is obligated to supply products to only the Location specified herein.

                    (b) Customer covenants and agrees to purchase from Supplier and offer for sale, at the Location,
           only such gasoline, diesel fuel, other petroleum products or any additional motor vehicle fuel and/or
           energy-related products as are supplied and delivered by Supplier, including but not limited to those set
           forth on Schedule 2 for the full duration of the stated term of this Agreement; and to purchase not less
           than 125,000 gallons of gasoline and/or diesel fuel per month which equals 15,000,000 gallons over the
           term of the Agreement. In the event Customer does not purchase 15,000,000 gallons during the term of
           this Agreement then the Agreement will automatically extend until Customer purchases 15,000,000
           gallons.

                      (c) It is the intention of the parties that the supply and purchase obligations contained herein
           shall remain in full force and effect throughout the term of this Agreement and shall not be suspended
           during any period of remodeling, renovation, repair, or rebuilding of the improvements located at the
           Location. Provided further, in the event Customer's completion of the construction, remodeling and
           rebranding of the Location is not completed prior to the commencement of the term of this Agreement,
           due to conditions beyond the control of Customer, Customer's obligation to purchase petroleum
           products hereunder shall commence upon the completion of such construction remodeling and
           rebranding.

                    (d)   Supplier has the sole and exclusive right to designate the hauler for delivery of products to
           the Location and hereby reserves the right to change the designated hauler from time to time. Customer
           acknowledges and agrees further to comply with hauler’s protocol for ordering of products and to allow
           sufficient time to receive delivery thereof. Customer acknowledges that haulers’ business is dependent on
           many external factors and that there may be delays in deliveries without any consequences to Supplier.
           Customer shall grant full access to hauler’s vehicles to make deliveries at any hour of the day.
           Communications between hauler and Customer are the sole and exclusive responsibility of the Customer.
           Any mistakes in ordering due to miscommunications between the hauler and Customer are to be resolved
           between the hauler and Customer. Any product outage(s) due to Customer’s failure to: (1) timely order
           sufficient volumes of product; (2) comply with hauler’s protocol for ordering of products; or (3) grant full
           access to hauler’s vehicles to make deliveries shall constitute an event of default. Customer acknowledges
           and agrees that Supplier shall not be liable for any misconduct of any designated hauler.

           3. OPERATION OF STATION. Customer recognizes that the brand utilized by Supplier is associated with
           high quality service and products and agrees to conduct business at the Location in a manner to maintain



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           that association. Accordingly, Customer agrees to furnish such service and accommodations to retail
           motor fuel customers as are customarily provided by convenience store/filling stations.

           Customer specifically agrees to refrain from the sale, use, storage, rent, display, or offering at the Location
           of:

                 (a) pornographic or sexually explicit magazines, video tapes, compact discs, digital video discs,
                 similar literature or items of merchandise;

                 (b) any item, in Supplier's judgment, that is intended or designed for use in ingesting, inhaling or
                 otherwise consuming an illegal drug or from manufacturing or processing an illegal drug, including
                 but not limited to pipes, tubes, roach clips, instructions or descriptive materials, or containers
                 designed for concealing illegal drugs or paraphernalia, or bath salts or synthetic drugs designed to
                 mimic the effects of illegal drugs; and

                 (c) any substance or item prohibited to be offered for sale by the branding and/or quality assurance
                 standards of the motor fuel supplier providing motor fuel for sale or resale at the Location.

           Customer agrees to keep the business operated at the Location open for business during no less than
           the hours hereinafter set forth. Such business shall be open 365 days per year, (366 days during any leap
           year) operating 24 hours a day.

           Customer agrees to provide:

                 (a) broadband service to the Location in a manner acceptable to Supplier; and

                 (b) promptly upon execution of this Agreement, a real property survey of the Location in a form that
                 is acceptable for the purposes of filing any any all approvals, licenses and permits reasonably required
                 to operate the Location for its intended purpose under this Agreement. In the event that Customer
                 does not provide a survey, Supplier may charge Customer for the cost of a new survey.

           4. EXCLUSION OF OTHER SUPPLIERS. Customer covenants and agrees to offer for sale, at the Location,
           only the motor fuels as are provided to the Location supplied by Supplier under this Agreement.
           Customer shall not sell any other supplier’s motor fuels without the express written permission of
           Supplier. Custromer affirmatively represents unto Supplier that Customer is not bound by the terms of
           any other motor fuels supply agreement relative to the Location and that Supplier has not induced,
           directed nor assisted Customer in breaching the terms of any agreement with another motor fuel
           supplier.

           5. QUALITY AND CLAIMS. Supplier guarantees that all products delivered hereunder will be uniform
           in quality and according to industry standards. Any claim for deficiency in quality or quantity of any
           product is waived unless Customer gives Supplier notice of such deficiency at time of delivery (or during

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           the next period of regular business hours if night delivery) for quantity claims and within ninety-six (96)
           hours of discovery of the alleged deficiency for quality claims. Such notice shall fully set forth the facts
           on which Customer’s claim is based, and Supplier shall be given full opportunity to inspect, measure,
           and test the products and/or equipment involved. Customer shall immediately notify Supplier if its
           equipment is leaking. Customer’s failure to comply with the above requirements shall operate as a
           waiver of any and all claims and remedies by Customer against Supplier arising out of product defects,
           variances or shortages.

           6. PRICE OF PRODUCTS. Prices for all products purchased by Customer from Supplier shall be Supplier’s
           rack price from its supplier at its supplier’s terminal, plus call and demand freight rates, plus ONE CENT
           $0.01 per gallon, plus any applicable Superfund tax per gallon, plus the UST fee per gallon, plus any other
           applicable taxes, charges, duties and fees levied on any of the products of Supplier, or required to be
           collected by Supplier upon the sale, transportation or delivery of the products. Customer shall be entitled
           to any rebates paid by the oil company to Supplier for volumes of gasoline sold at the Location during the
           term of this Agreement, up to a maximum of THREE CENTS ($0.03) per gallon of gasoline sold, so long as
           Agreement is not in default.

           7.   TERMS OF PAYMENT. Motor fuel sales shall be net payment, COD, at time of delivery. Provided
           further, Supplier may, in its sole discretion, provide load to load, or 7 day credit or other deferred credit
           terms for payment. Supplier shall notify Customer of the payment terms prior to or at the time of any
           delivery of motor fuels. Supplier may, after providing credit terms, require Customer, upon notice, to
           revert to making payments, COD, for all fuel deliveries at any time during the term of this Agreement.
           Any notice to Customer may be by facsimile transmission, verbal notice (in person or by telephone), by
           e-mail, or any other commercially reasonable manner. Payment shall be made by draft or direct deposit
           into Supplier’s bank account or by electronic fund transfer, at Supplier’s election. For the purposes
           hereof, Customer shall furnish Supplier with the name of the bank and the account number from which
           payments shall be directly drafted by electronic fund transfer and shall execute such documents and
           authorizations that may be necessary to provide for such transfer if such method of payment is chosen
           by Supplier. In the event any draft or electronic fund transfer is returned or dishonored by reason of
           insufficient funds or otherwise, Customer shall be in default hereunder and in order to cure such default,
           as may otherwise be provided for in this Agreement, Customer shall additionally pay unto Supplier an
           administrative charge of TWO HUNDRED DOLLARS ($200.00) for each such dishonored instrument or
           transfer. Provided further, in the event of the return or dishonor of any draft or electronic fund transfer,
           or in the event Supplier has reasonable grounds upon which to believe that Customer will not pay for
           fuel previously delivered to the Location in accordance herewith, then in either event, Supplier shall
           have the right to cause the removal (pump-out) of the in-ground fuel previously delivered to and stored
           upon the Location and to credit Customer’s account for such fuel in an amount equal to the price of
           products that Customer owes for the delivery of such fuel removed, less the cost of the pump-out.


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           Provided further, upon any such return or dishonor of any draft or electronic fund transfer and prior to
           causing the removal of in- ground fuel as heretofore provided, Supplier shall have the right to enter upon
           the Location and cause an electronic or manual cut-off or disabling of the fuel dispensing equipment so
           that no in- ground fuel can be pumped until the pump-out is completed or until the fund transfer is
           honored, whichever occurs first.

           8. CREDIT CARD NETWORK AND SALES. Customer shall use, during the term of this Agreement, only
           the credit card network provided by and/or associated with Supplier’s supplier or such other credit card
           network as directed by Supplier which shall be maintained and upgraded by Customer at its cost. No
           secondary or supplemental or other credit card network or credit card machines shall be used for the
           processing of any sales, whether for fuel, inventory, merchandise or otherwise. In the event that
           Customer uses a separate EBT machine, Customer shall be required to use a network or machine supplied
           by Supplier or its approved vendor. In the event of the unauthorized use of a credit card network or
           machine for processing sales at the Location, by Customer or any of its customers or employees or
           contractors, Customer shall be in default in its obligations under this Agreement. In the event of any
           such default, the cure for the unauthorized activity (in addition the discontinuance of such unauthorized
           activity), Customer shall pay unto Supplier a FIVE HUNDRED DOLLAR ($500) cure fee for the first such
           default; and a ONE THOUSAND DOLLAR ($1,000) cure fee for any subsequent default during the Term
           hereof. In the event of default by Customer under any other terms of this Agreement, Supplier shall
           also be entitled to immediately disable said credit card network at the Location. Invoices from credit
           card sales shall be credited and paid to Supplier in regard to approved credit card purchases from
           Customer. Supplier shall credit Customer’s account for products purchased hereunder, for the amount
           of credit card sales credited and paid to Supplier in accordance with fuel jobber (wholesaler) industry
           standards; provided that credit cards sales shall not be repaid to Customer but held on Customer’s
           account as additional credit against fuel purchases. Upon any failure by Customer to strictly comply with
           the terms and conditions of credit card transactions at the Location, Supplier shall have the right to
           charge back to the Customer all sums not credited to or paid to Supplier as a result of defective or
           noncomplying credit card sales at the Location.      Any “charge-backs” shall be immediately paid by
           Customer to Supplier. Customer shall be responsible for all point of sale programming and updates and
           installation and maintenance costs for EMV requirements from governmental agencies or oil companies.
           Customer shall attend point of sale training and customization prior to fuel delivery and shall pay FIVE
           HUNDRED DOLLARS ($500) for the cost of training and customization.

           9. BRANDING, TRADEMARKS AND NAMES. Supplier shall have the right to designate the branding of
           the motor fuels to be purchased by Customer hereunder. The initial branding, if any, shall be as
           designated on Schedule 3 attached hereto and made part hereof. Supplier shall incur such costs as may
           be reasonably necessary for changing and or installation of the branding image of the Location (said sum
           hereinafter being referred to as Supplier’s branding investment), in order to obtain the approval of


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           Supplier's chosen branded fuel supplier. Customer shall be responsible for payment of any and all further
           sums necessary for signage or other branding image items in order to maintain such approval during the
           term of this Agreement. In the event Supplier changes branding during the term of this Agreement, all
           costs of maintaining the subsequent banding image(s), after Supplier’s initial costs in rebranding the
           Location, shall be borne by Customer. All signage shall be contingent upon and subject to the
           requirements of any applicable state or local law or ordinance.          Customer agrees to conduct its
           operations and cause its retail facilities to be operated during the Term of this Agreement in accordance
           with the image requirements and minimum standards established by the branded fuel supplier as chosen
           by Supplier, from time to time which shall include but not be limited to, oil company uniforms, employee
           name tags, clean and available restrooms, and in accordance with the image requirements and minimum
           standards established by the Supplier and/or its affiliates. In the event Customer's branded retail facility
           does not meet such standards or requirements and which results in Supplier's receiving notice to
           debrand Customer, or if such retail facility is abandoned, Customer shall allow Supplier or Supplier's
           representatives or customers to immediately remove all brand identification from the Location, and
           Customer shall be liable to Supplier for all expenses and damages incurred as a result thereof. For the
           purposes of this Agreement, the Location shall be deemed abandoned if it is not open for business during
           normal business hours for three consecutive days. Customer expressly agrees that all of Supplier’s (or
           Supplier’s suppliers’) trademarks, names and colors appearing at the Location shall be kept clear and
           legible, and that Customer will use only signs approved by Supplier to advertise products purchased by
           Customer from Supplier. Supplier shall be entitled to withdraw or substitute at Supplier’s cost the use
           of any particular trademark, name, or colors. Customer shall at its sole cost and expense participate in
           any marketing or loyalty programs established by the brand of motor fuels sold at the Location; install all
           marketing materials, such as point of purchase (POP) signage, credit card applications and related
           materials; and attend any training or informational programs offered.

           10. CUSTOMER’S BUSINESS. It is mutually agreed that the business conducted by Customer at the
           Location is the independent business of Customer, and this Agreement shall not be construed as
           reserving to or conferring upon Supplier any right to direct or control Customer or any of Customer’s
           employees in the conduct of Customer’s business. Customer acknowledges that Supplier has made no
           representation of profitability in regard to any business to be operated by Customer at the Location and
           Customer has not relied upon any business information provided by Supplier in regard thereto; and
           Customer enters into this Agreement based upon the exercise of Customer’s own business judgment
           after having full opportunity to exercise due diligence on Customer’s own behalf.                 Customer
           acknowledges its sole resposibility for: (1) the pricing of all products, including motor vehicle fuels, sold
           at the Location; and (2) the operation of its business in accordance with all applicable laws, regulations
           and standards. Customer agrees, further, to defend, indemnify and hold the Supplier, its subsidiaries,
           divisions, affiliates, agents and employees harmless from any and all claims, injuries, damages, losses or


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           suits including attorney fees, arising out of or in connection with the Customer’s business. Provided,
           however, that Supplier agrees to defend, indemnify and hold the Customer, its subsidiaries, divisions,
           affiliates, agents and employees harmless from any and all claims, injuries, damages, losses or suits
           including attorney fees, arising out of or in connection with intentional acts of Supplier.

           11. UNDERGROUND STORAGE TANKS AND MAINTENANCE. Customer is in exclusive possession and
           control of the underground storage tanks, lines, and associated underground equipment at the Location,
           and shall be responsible for all maintenance and repairs and all environmental issues or matters arising
           out of the use, maintenance or repair of such tanks, lines, pumps, dispensers and fuel equipment
           (including EMV upgrades), except as to any maintenance, repair or environmental costs or damage
           directly caused or arising from any intentional or negligent act or omission of Supplier, or except as to
           any repairs that are expressly made the responsibility of Supplier as Landlord under the terms of a lease
           of the Location to Customer as Tenant. Customer shall, throughout the term hereof, provide daily tank
           stick readings to Supplier's transport company (hauler) in such manner as directed by Supplier. In
           addition, Customer shall provide daily stick readings to Supplier with water detecting putty and take
           accurate and prompt measures at Customer’s cost to cure and remove any water or other contaminants
           from the tanks, lines and fuel equipment. Customer warrants that throughout the entire Term of this
           Agreement, Customer’s location shall be in full and complete compliance with all local, State and Federal
           environmental regulations and statutes pertaining to the storage, handling and dispersing of petroleum
           products and motor fuels. Further,           Customer shall comply with all directions, instructions or
           recommendations made by any environmental consultant retained by Supplier for the purposes of
           managing environmental and inventory control at the Location. Upon the breach of this warranty, and
           in addition to any other remedies Supplier may have by law, Supplier shall have the right to immediately
           cease delivery of products to Customer and terminate this Agreement. Without limiting the foregoing,
           Customer shall, at its expense, cause the cleaning of the underground motor fuel storage tanks prior to
           Supplier’s installation of any new, refurbished or upgraded motor fuel pumping equipment or before the
           first delivery of motor fuels to the Location by Supplier, whichever occurs first; and shall cause the
           cleaning of the underground storage tanks periodically during the Term of this Agreement, as may be
           reasonably required by Supplier. Customer shall pay one half the cost of any software, hardware and
           service costs including annual and monthly maintenance fees associated with automated tank, pump, sign
           and/or register readings. Customer specifically acknowledges that Supplier has no obligation with regard
           to underground tanks or submersible pumps or any other fueling equipment located in the tanks.


           12. DELIVERIES DELAYED OR PREVENTED. Supplier will fill all orders with reasonable promptness, but
           shall not be liable for loss or damage due to delays or failure, in whole or in part, to fill orders resulting
           from acts of public enemies, regulations, or orders of civil or military authorities, fires, floods, strikes,
           labor disputes, accidents, shortage of labor, of crude oil, or refined products or refinery capacity, or


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           materials or of transportation, or any other cause beyond Supplier’s reasonable control, either at its own
           plants or those of its sources of supply, or in connection with the delivery of its products. If Supplier is
           prevented by any of the foregoing causes from supplying the full quantities of any one or more of its
           products hereunder, Supplier shall have the right without liability to Customer to allocate the quantity
           deliverable hereunder to Customer, to its other customers under contracts calling for delivery of like
           products, and to its own requirements in such manner as it may deem reasonable, or according to any
           required allocation program, and Customer shall be bound by such allocation. If Supplier is unable to
           deliver products for more than seventy-two (72) hours, Customer shall have the right to purchase
           products from other suppliers until such time as Supplier can recommence delivery, and Customer may
           suspend its performance under this Agreement during such an event. Once Supplier has recommenced
           delivery, Customer shall immediately begin abiding by the terms and covenants contained herein.

           13. ASSIGNMENT-SUBLETTING-SALE. Customer shall not, without the prior written consent of Supplier
           endorsed hereon, assign this Agreement or any interest hereunder, or any part hereof, or permit the
           operation of the Location by any party other than Customer. Supplier’s consent shall not be unreasonably
           withheld, however, in making such a determination, Supplier may rely upon the financial and
           creditworthiness and criminal background, if any, of any proposed assignee in making a determination
           as to whether or not the withholding of such consent is reasonable. Customer must provide Supplier with
           thirty (30) days prior written notice of a proposed consent together with all information for the proposed
           assignee. Consent to the assignment shall not destroy this provision, and all later assignments shall be
           made likewise only on the prior written consent of Supplier. An assignee of Customer, at option of
           Supplier, shall become directly liable to Supplier for all obligations of Customer hereunder, but no
           assignment by Customer shall relieve Customer of any liability hereunder, and Customer shall remain
           jointly and severally liable with assignee for the satisfaction and performance of all Customer’s
           obligations under the terms of this Agreement. Notwithstanding the foregoing, Customer shall have the
           right, without prior written consent of Supplier, to assign this Agreement, in its entirety, to any
           corporation or limited liability company organized under the laws of the State of Arkansas and wholly
           owned by Customer; however, any such assignment shall not relieve Customer of joint and several
           liability for all of Customer’s obligations hereunder, the performance of which shall be personally
           guaranteed by Customer. In the event any assignment is authorized and executed hereunder, Customer
           shall pay Supplier the costs, including administrative and legal fees, incurred by Supplier as the result
           thereof. In the event Supplier elects to sell, assign or convey rights, titles and interest in this Agreement,
           Customer shall provide a fuel estoppel agreement, in acceptable form to Supplier, confirming the terms of
           this Agreement at Supplier’s request and without delay.

           14. DEFAULT, TERMINATION AND LIQUIDATED DAMAGES. All                   terms,     conditions,     covenants,
           warranties and agreements contained in this Agreement are essential and material to the continued
           relationship between the parties. In addition to the aforementioned, the following shall constitute


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           events of breach or default: (1) failure to remit to Supplier any monies owed by Customer to Supplier
           in accordance with the provisions of this Agreement; (2) violation of any federal, state, county or
           any municipal law, ordinance, rule, or regulation relating to Customer’s operation of the business
           conducted pursuant to or in connection with this Agreement; (3) false or misleading statements
           made by Customer to Supplier, including financial statements made or provided by Customer in
           order to enter into this Agreement; (4) the institution of any insolvency, bankruptcy, or a receivership
           proceeding in or against Customer; (5) failure of Customer to pay taxes or license fees as required
           by the terms of this Agreement or by any law or regulation or arising out of Customer’s employment
           of any person; (6) abandonment or cessation of operation of the business of Customer; (7) severe
           physical or mental disability of Customer; (8) Willful adulteration, mislabeling or misbranding of
           motor fuel or other violation by Customer of trade mark requirements for products sold by
           Customer as set forth under this Agreement; (9) violation of any term or condition of the lease, any
           cash advance agreement or any other agreements between the parties related to the Location; or
           (10) any act or omission allowing for termination, non-renewal or debranding of the Location or as
           provided under the Petroleum Marketing Practices Act 15 U.S.C. Sec. 2801 et seq. Subject to all
           rights under the Petroleum Marketing Practices Act, Supplier shall provide Customer written notice
           of the occurrence of any event or breach which is cause for termination of this Agreement hereunder.
           Customer shall have 15 days from the date of such notice in which to cure such breach or correct any
           condition or otherwise comply with the terms of this Agreement and in lieu of which this Agreement
           shall automatically be terminated at the expiration of such 15 day period. Notwithstanding the
           foregoing, in the event Customer fails to remit Supplier any monies owed to Supplier under the terms
           hereunder, Supplier shall have the right to immediately suspend motor fuel delivery until and unless such
           breach is cured. In the event such a breach is not cured within 5 days from the date of written notice to
           Customer, then in such event Supplier shall have the right to then immediately terminate this Agreement.
           In the event Customer receives written notice from Supplier of any events of default hereunder, Customer
           specifically acknowledges and agrees that Supplier, through its agents, shall have the right to inspect
           Customer’s facility at the Location for purposes of determining compliance with this Agreement. In the
           event such event is not cured withing 15 days of notice thereof, Seller shall be entitled to make any
           corrections and/or repairs necessary at the Customer’s expense.

                    The parties hereto agree and stipulate that in the event of default by Customer and early
           termination of this Agreement, Supplier’s actual damages cannot be calculated with any degree of
           certainty as Supplier is relying upon Customer’s continuing purchase of petroleum products
           throughout the term of this Agreement.            Accordingly, Customer and Supplier specifically
           acknowledge and agree that such damages upon Customer’s breach would be virtually impossible
           to determine, and that the formula provided in this paragraph provides a reasonable pre-estimate
           of Supplier’s probable loss that will be suffered by Supplier. Therefore, the parties agree that, in


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           addition to any other amounts owed to Supplier hereunder, Customer shall pay to Supplier as
           liquidated damages and not as a penalty a sum equal to FOUR CENTS ($0.04) times the minimum
           number of gallons required to be purchased monthly (see Section 3 (b)) times the number of months
           remaining in the Term of this Agreement from the date of default. The parties further agree that the
           above formula is reasonable because the amount of such liquidated damages are decreased by each
           month that Customer performs its obligations under this Agreement. Moreover, the parties stipulate and
           agree that their intent in using the above damages formula is to provide a readily calculable pre-estimate
           of Supplier’s probable loss upon breach and that it not be construed as a penalty of any kind or sort.

                    It is further agreed that in the event of default by Customer under any of the terms of this
           Agreement and that in addition to the aforesaid liquidated damages, Supplier shall be entitled to
           recoup from Customer the unamortized portion of its investment in the Location that is more
           particularly described in Schedule 5 hereto. The investment described in Schedule 5 shall be
           amortized on a “straight line” basis over the ten year term of this Agreement; if Customer defaults
           and this Agreement is terminated before the end of the term, Supplier shall be entitled to immediate
           payment of the amount of the investment that has not been amortized on the date of default.
           Customer acknowledges that recoupment by Supplier of the unamortized investment is a reasonable
           pre-estimate of Supplier’s damages with respect to the investment, and that Supplier has the
           reasonable expectation that Customer shall perform its obligations hereunder for the full term. In
           lieu of Supplier’s right to recoupment of its investment in the Location, Supplier may also immediately
           remove from, or disable at, the Location and retain full ownership of the petroleum product dispensing
           equipment, cash register, point of sale and other branding image items installed pursuant to Schedule 5
           attached hereto. Upon any default Supplier shall also be authorized and permitted to immediately
           remove all motor fuel products in the underground storage tanks at the Location, pursuant to Section 6
           of this Agreement. Termination of this Agreement shall not affect or abridge the rights and
           obligations of the parties occurring prior to termination, and Supplier may pursue any available legal
           remedies relating thereto whether or not it exercises its right to declare this Agreement terminated.
           In addition to the foregoing, in the event of termination, Customer shall pay to Supplier the cost of
           “debranding” the Location. “Debranding” is hereby defined as the removal of all brand signage,
           brand color scheme, repayment of any unamortized oil company branding costs and rebates at the
           Location.

           15. QUALITY ASSURANCE. Customer acknowledges that Supplier’s supplier(s) maintain programs for
           product quality and marketing assurances. Customer shall be responsible for the satisfaction of all credit
           card processing fees and shall, at its cost and expense, comply with all quality and marketing programs,
           and shall cooperate at all reasonable times and in all reasonable manners with all quality assurance
           programs and inspections, in failure of which Customer shall be in default under the terms of this
           Agreement. Customer shall properly display all point of purchase marketing materials and credit card


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           applications. Provided further, in the event Supplier determines, in its sole discretion, that Customer is
           not in compliance with any marketing or quality assurance retailing standard in regards to the physical
           condition of the Location and the operation of the business thereon, Supplier shall have the right (but
           not the obligation) to enter upon the Location and to correct any deficiency or substandard condition
           and bill Customer for the cost thereof. Customer shall reimburse Supplier for any and all of such costs
           within seven days of receipt of such bill. Such reimbursement payment(s) shall be made by electronic
           fund transfer in the same manner as payment for products purchased from Supplier. Without limiting
           the foregoing, it is understood between the parties that the quality assurance standards to be met, to
           the satisfaction of Supplier, include but are not limited to the proper maintenance of landscaping, the
           maintenance and cleanliness of the restroom facilities, buildings (interior and exterior), canopy and
           equipment, proper presentation and display of retail merchandise, maintenance and location of signs
           and other branding image items and other such matters pertaining to the brand image of the Location.
           Customer shall cause all employees and personnel to wear the uniforms and name tags of Supplier's
           supplier while engaged in Customer's business at the Location. Further, without limiting the foregoing,
           Customer shall comply with the image and identification standards established, from time to time, for
           “branded outlets” by Supplier's branded supplier. It is acknowledged between the parties that Supplier
           and/or Supplier’s supplier may conduct periodic “mystery shopper” or other inspections of the Location
           and the operation of the business thereon in order to determine whether Customer is meeting the
           image, retail and customer service standards required under the terms of this Agreement. In the event
           Customer scores below 90% of a perfect score, or otherwise fails inspection as determined by Supplier
           or Supplier’s supplier making the inspection and in accordance with the quality assurance standards,
           Customer shall pay unto Supplier an inspection fee of $500.00 or such amount charged by Supplier’s
           supplier as an inspection fee, whichever is greater, due and payable within three days of Customer
           receiving notice of such failure and a copy of the inspection report. The foregoing inspection fee shall
           apply to each and any failure of such inspections; provided further, Supplier shall have the right, in its
           discretion, to waive the requirement for payment of an inspection fee based upon its determination of
           Customer’s exercise of good faith in promptly correcting all quality assurance deficiencies.

           16. SEVERABILITY. (a) If any one or more of the provisions of this Agreement are determined, by a
           court of competent jurisdiction, to be invalid or unenforceable, the remaining provisions hereof shall
           continue to be of full force and effect provided that the invalidity of any provisions hereof does not result
           in a lack of mutuality or a failure of consideration in regards to the benefits and obligations set forth
           herein. (b) If, subsequent to the date of this Agreement, valid state or federal laws or regulations
           governing the relationship between Customer and Supplier take effect, this Agreement shall be deemed
           amended and shall incorporate any mandatory requirements of such laws or regulations so long as they
           shall be effective,     unless such amendment(s) shall operate to increase Supplier’s taxes, costs or




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           expenses hereunder, in which case Supplier shall have the option to terminate this Agreement by notice
           to Customer.

           17. CUSTOMER’S REPRESENTATIONS. Customer affirmatively represents and warrants unto Supplier
           that Customer is not under contract with another fuel supplier and is authorized to enter into this
           Agreement with Supplier, and that Supplier has not induced Customer to breach, nor has Supplier
           interfered with, any other existing contract between Customer and any other product supplier. In the
           event Customer is a corporation or limited liability company,          Customer represents that it is a
           corporation or limited liability company in good standing duly authorized to do business in the State of
           Texas, and that the undersigned party executing this Agreement on behalf of Customer has full and
           complete authority to bind the corporation or limited liability company hereto. Further, it is expressly
           agreed that the corporate officer or limited liability company manager and/or member executing this
           Agreement on behalf of a corporation or limited liability company shall be, in his or her individual
           capacity, jointly and severally liable and responsible, with such corporation or limited liability company,
           for the satisfaction of all obligations of Customer under the terms of this Agreement.

           18. ENTIRETY-RELEASE: This Agreement constitutes the entire agreement and understanding between
           Supplier and Customer merging and superseding all prior agreements, understandings, warranties and
           representations, whether oral, written, express, or implied, between Supplier and Customer. All prior
           agreements between Supplier and Customer concerning the subject matter hereof, relating to the
           Location defined herein, are hereby terminated. Neither this Agreement nor any modification or waiver
           of any of the provisions hereof shall be binding upon Supplier or Customer unless in writing, duly
           executed by Customer and a duly authorized Customer of Supplier.

           19. ENVIRONMENTAL CONTAMINATION. In the event it is determined, during the term of this
           Agreement, that the Location is environmentally contaminated as a result of a leak, spill, or other
           discharge of hazardous substances which constitutes a violation of local, state or federal law, rule,
           regulation or ordinance, Supplier shall have the right to suspend delivery of products to the Location
           until such contamination is remediated as required by law during which time Customer shall remain
           liable unto Supplier for any shortfall payments due hereunder by virtue of Customer’s failure or inability
           to purchase the minimum number of gallons of petroleum products required under the terms of this
           Agreement, notwithstanding such suspension. In the alternative, in the event of such contamination,
           Supplier shall have the right to terminate this Agreement in which case Customer shall reimburse
           Supplier for all branding investment costs incurred by Supplier for branding of the Location and shall
           reimburse Supplier for all purchase incentive rebates received by Customer under the terms of this
           Agreement.

           20. NOTICES. Any notice provided for herein shall be given in writing and shall be considered properly
           given when received if personally delivered or, if deposited in the United States mail by certified mail,


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           return receipt requested, postage prepaid, properly addressed by either party to the other at such party’s
           address shown above, or at any changed address of which notice is duly given, as of the date received.

           21. ATTORNEY’S FEES, COSTS, INTEREST.             In the event it becomes necessary for Supplier to employ
           the services of an attorney to enforce any aspect of this Agreement; Customer is in default of this
           Agreement; or this Agreement is amended, assigned or modified; Supplier shall be entitled to charge
           and collect administrative costs and legal fees in an amount not less than TWO THOUSAND DOLLARS
           ($2,000.00). In the event that either party files litigation regarding this Agreement, the losing party
           agrees to pay the prevailing party reasonable attorney’s fees and costs of litigation.

           22. CHOICE OF LAW. This Agreement has been entered into in and shall be construed under the laws of
           the State of Georgia and the parties agree that exclusive venue and jurisdiction shall be with the Superior
           Court of Cherokee County, Georgia for any actions, suits or proceedings.

           23. SECURITY DEPOSIT. Unless otherwise stated as an alternative security deposit payment provision in
           Schedule 4 attached hereto and made part hereof, Customer shall pay unto Supplier a TWENTY-FIVE
           THOUSAND DOLLAR ($25,000.00) security deposit as paid according to Schedule 4 herein attached. Such
           payment shall be due at the same time and in the same manner as payments made for purchases of
           motor fuels and shall be in addition thereto. During the term of this Agreement, Suppler shall have the
           right to apply all or part of said deposit to any sums owed by Customer to Supplier under the terms
           hereof. In such event, Supplier shall notify Customer of such application and Customer shall pay over to
           Supplier such amounts as may be necessary to restore the full amount of the security deposit to TWENTY-
           FIVE THOUSAND DOLLARS ($25,000.00). Supplier’s application of all or any portion of the security deposit
           shall not relieve Customer from its obligations to make any payments due to Supplier nor prejudice
           Supplier’s rights to exercise any remedy provided for herein, or at law, in consequence of Customer’s
           default under the terms of this Agreement. Further, Customer hereby grants Supplier a security interest
           in all of Customer's business equipment, supplies, inventory and fixtures at the Location, in which
           Supplier shall have all the rights of a secured party under the terms of the Uniform Commercial Code,
           and which interest may be evidenced and/or perfected by the filing of a UCC-1 Financing and Fixture
           Filing Statement(s).

           24. JOINT AND SEVERAL LIABILITY. In the event more than one person, firm, company or entity are
           named as Customer hereunder, each such named person, firm, company and entity shall be jointly and
           severally liable unto Supplier for the satisfaction of the obligations of Customer hereunder; and Supplier
           may look to any, all or any combination of them for such satisfaction thereof.

           25. INSTALLATION OF PETROLEUM PRODUCT DISPENSING AND OTHER EQUIPMENT. Supplier shall
           cause, at its expense, the installation of petroleum product dispensing equipment and or accessories
           and/or fixtures at the Location as may be set forth on Schedule 5 attached hereto and made part hereof.


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           Customer acknowledges that Supplier shall have the right to engage any qualified vendor for the purpose
           of acquisition and installation of the same or similar equipment described therein. The total cost to
           Supplier for the acquisition and installation of such equipment, accessories and fixtures shall be
           considered part of Supplier’s branding investment under the terms of this Agreement.

           26. LEASED EQUIPMENT. Customer acknowledges that any equipment, accessories or fixtures provided
           by Supplier under the terms of this Agreement may have been leased to Supplier by one or more leasing
           companies. In the event of a transfer or assignment of this Agreement, Supplier will continue to make
           any such equipment lease payments through the full term of any such lease(s).

           27. REPAIR OR EQUIPMENT OBLIGATIONS OF CUSTOMER. Customer shall cause the repairs and/or
           maintenance upgrades at the Location; and install such equipment as may be specified in Schedule 6
           attached hereto and made part hereof at the commencement of this Agreement. Customer shall
           commence such work promptly and pursue the same diligently through completion as set for in said
           schedule and as a prerequisite to Supplier’s performance and obligations under section 25 of this
           Agreement.

           28.    CONTINGENCIES.        This Agreement and the rights and obligations of the parties hereunder is
           expressly contingent upon the approval of the Location, receipt of a survey of the Location supplied by Customer,
           the branding image and specifications therefor, and Customer's credit history by Supplier's supplier.
           Further, in the event Supplier is obligated to cause the installation or upgrade of any motor fuel
           dispensing equipment or accessories at the Location, this Agreement is expressly contingent upon
           Supplier obtaining financing, by lease or otherwise, for such obligations upon terms and conditions
           acceptable to Supplier; and contingent upon Customer's third party landlord (and the prime landlord at
           the Location, if applicable), if any, executing a Landlord's Acknowledgment and Equipment Waiver in such
           form satisfactory to Supplier and under which such landlord (and prime landlord) waives any right or
           claim, during the term of this Agreement, to the equipment, accessories, fixtures and branding image
           items installed by Supplier, and acknowledges Supplier's exclusive right to supply motor fuel to the
           Location for the full term hereof. Customer shall exercise good faith and make diligent efforts and
           cooperate with Supplier in obtaining the execution of such Landlord Acknowledgment and Waiver, in
           failure of which Supplier may terminate this Agreement.

           29. CROSS-DEFAULTS. Any default by Customer under the terms of Paragraph 7 of this Agreement shall
           likewise constitute a default of Customer under the terms of any and all other agreements between these
           same parties, for the locations at 1407 West Carrier Parkway, Grand Prairie, Texas 75050, 9505 Wallsville
           Road, Houston, Texas 77013, and the Lake Murray parcel near Lake Murray, Oklahoma, if fully built,
           including without limitation, leases, motor fuel supply or commissioned sales agreements, purchase
           and/or sale agreement and other contracts, whether or not pertaining to the Location, or the other above-
           mentioned premises or locations or to the sale or purchase for resale of motor fuels or other products.


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           This provision shall also apply to the non-payment of funds for any agreements with Supplier's affiliates
           and related parties, including but not limited to any Customer non-payment of funds' defaults with any
           branded fuel supplier. In the event Customer is a tenant of a third-party landlord at the Location, and
           Supplier has acquired the written consent to this provision from such landlord by way of a separate
           document or agreement, a non-payment of funds' default by Customer under the lease shall be a default
           under this Agreement.

           30. INSURANCE.          Customer shall continuously maintain general liability insurance and liquor liability
           insurance with such coverage as may be approved by Suppier and naming Supplier as an additional
           insured; and Customer shall maintain workers’ compensation insurance as required to be in full
           compliance with the Texas Workers Compensation Act and obtain Workers Compensation Insurance.
           Customer shall furnish Landlord certificates establishing that the insurance requirements contained
           herein are met and maintained, from time to time, and upon request by Supplier. Additionally, Customer
           shall reimburse Supplier, by EFT on a monthly basis, for any all insurance premiums incurred by Supplier,
           during the term of this Agreement, for fire, casualty, hazard and liability insurance maintained by Supplier
           covering any equipment, accessories, fixtures and/or branding image items owned or leased by Supplier
           and installed at the Location. In the event that Customer fails to provide a certificate of insurance after
           written notice from Supplier, Supplier may obtain such insurance and charge Customer the actual cost of
           the insurance plus an administrative fee.

           31. USE OF TECHNOLOGY FOR PRICING SURVEY, INVENTORY MEASUREMENT, AND REPORTING OF
           SALES. Customer shall have the option to use electronic software reporting systems for conducting market
           surveys of posted motor vehicle fuel prices, electronic measurement and reporting of motor vehicle fuel
           inventory levels, and recording and reporting of motor vehicle fuel sales as may be offered and/or provided
           by Supplier, current systems including but not limited to Black Box, Opis, and Price Advantage technology
           (“Reporting Systems”). Supplier may offer and/or provide new Reporting Systems as new technology
           emerges. In the event Customer elects to use such Reporting Systems, Customer shall be responsible for
           all applicable monthly charges and fees for the use of such Reporting Systems, with such monthly charges
           and expenses to be paid via electronic fund transfers (EFT / ACH) from Agent’s account, and Customer
           agrees, further, to defend, indemnify and hold the Supplier, its subsidiaries, divisions, affiliates, agents and
           employees harmless from any and all claims, injuries, damages, losses or suits including attorney fees,
           arising out of or in connection with the use of such Reporting Systems.

           32. SPECIAL STIPULATIONS. Attached hereto and made part hereof is Schedule 7 setting forth any special
           stipulations pertaining to this Agreement. In the event, and to the extent that the special stipulations
           conflict with any of the foregoing provisions of this Agreement, the special stipulations shall control.

                                                       [signature page to follow]



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               IN WITNESS WHEREOF, the parties hereto have caused this Petroleum Products Supply Agreement
           to be executed on the date first written above.




                                                             SUPPLIER
                                                             MOUNTAIN EXPRESS OIL COMPANY



                                                             By:__________________________________
                                                                 Barry Bierenbaum, President




                                                             CUSTOMER
                                                             SAMNOSH LLC




                                                             By: ____________________________________
                                                                  Gaurab Basnet, Member

                                                             GAURAB BASNET




                                                             By: ___________________________________
                                                                  Gaurab Basnet, Individually




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                                               SCHEDULE 1 - PROPERTY DESCRIPTION

                                       ADDRESS: 2439 Walnut Hill Lane, Dallas, Texas 75229

                                                         LEGAL DESCRIPTION

                                              WALNUT STEMMONS IINDUS PK III REV
                                                  BLK 3-6512 LT 1C LESS ROW
                                                          ACS 0.6101
                                              VOL2005123/9476 DD06082005 CO-DC
                                                 6512 003 01C00 2DA6512 003




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                              SCHEDULE 2 – PRODUCTS TO BE PROVIDED EXCLUSIVELY BY SUPPLIER



                     1.   Regular, Super and Premium Gasoline;

                     2.   Diesel;

                     3.   E85/and other Ethanol Blends;

                     4.   Bio Diesel;

                     5.   Ethanol Free Fuel;

                     6.   Boutique Fuels (Future);

                     7.   Natural Gas Related Fuels (Future);

                     8.   Electric Car Charging Networks (Future);

                     9.   Lubricants and Oils (Future)

                     10. Hydrogen Fuels (Future); and

                     11. Any other fuel known or currently unknown used to power automobiles, trucks, tractors,
                     boats, lawn mowers, etc.




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                                                      SCHEDULE 3 – BRANDING



           The initial branding image to be installed at the Location; and the initial brand of motor fuels to be
           delivered to the Location for resale by Customer shall be 76 or EXXON, if approved. Provided, however,
           for diesel only, the parties agree that Mountain Express will, at its sole discretion, make best efforts to
           procure unbranded diesel from multiple sources for purchase by Customer for resale to its unbranded
           diesel customers. The number of unbranded diesel supply sources may vary from market to market and is
           based upon competitive conditions. Mountain Express, during the Term of this Agreement, shall have
           complete control of the hauler and sources for the diesel fuel. Customer, during the Term of this
           Agreement, will be responsible for ordering fuel in a timely manner from the hauler in order to ensure
           adequate diesel inventory at all times to support the unbranded diesel fuel business.

           It is further agreed that from time to time unbranded diesel supply sources may change or be eliminated
           based on competition or market conditions. If that occurs Mountain Express will notify the Customer of
           such changes. It is further understood that Mountain Express has no control over these conditions and
           therefore some sources may be eliminated completely from further use.




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                                    SCHEDULE 4 - ALTERNATIVE SECURITY DEPOSIT PROVISIONS



           The $25,000.00 Security Deposit shall be collected at a rate of $0.02 per gallon of fuel sold until such
           time as the balance has reached $25,000.00.




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                    SCHEDULE 5 - EQUIPMENT, ACCESSORIES AND/OR FIXTURES TO BE INSTALLED BY SUPPLIER



                     1.   Price Sign (New and/or Refaced)
                     2.   Gasoline Canopy Imaging
                     3.   Gasoline Fuel Dispensers (Non-Truck Island)
                     4.   Oil Company Imaging - 76/EXXON in amount not to exceed $65,000.00


           Copies of invoices for actual installed items to be attached and herein incorporated.




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                                                             SCHEDULE 6

                  CUSTOMER’S REPAIR/MAINTENANCE AND EQUIPMENT OBIGATIONS UPON COMMENCEMENT



                1. Customer will install 1 MPD with appropriate imaging.
                2. Customer will build a 3,500 square foot C-Store at the Location.
                3. Customer must maintain landscaping in accordance with oil company brand standards.
                4. Customer must clean and maintain restrooms in accordance with oil company brand
                   standards.
                5. Customer must clean and maintain the site and inside store in accordance with oil company
                   brand standards.


           Customer shall open the C-Store for business no later than October 2019. In the event that Customer fails
           to meet this deadline, Customer shall be responsible for penalty fees of $1,000.00 per day for each day in
           which the business is not operating after the deadline, by means of a reduction in the final payment of the
           upfront funds, which is payable upon completion of the project. A reasonable determination for assessing
           the penalty fees shall be made by Supplier taking into account all of the facts and circumstances, including
           but not limited to, any unforeseen delays that arise which are beyond the control of the Customer.


           Customer shall provide all estimates, scopes of work, orders, and site plans supplied by any contractor to
           Supplier, who shall have final approval for all location improvements.




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                                                SCHEDULE 7 - SPECIAL STIPULATIONS



           CREDIT CARD FRAUD SKIMMING. Supplier shall have the right to immediately charge back to the
           Customer any credit card “charge-backs” from the Supplier’s Supplier immediately. In addition, Customer
           is responsible for any credit card fraud which may occur at the Location including Skimming. Skimming is
           the theft of credit card information. This theft occurs when a third-party card-reading device is installed
           either outside or inside a fuel dispenser or other card-swiping terminal. This device allows a thief to
           capture a customer’s credit and debit card information, including their PIN, with each card swipe.
           Customer is responsible for any credit card or debit card information theft and the fraudulent charges that
           are a result of Skimming. Customer is required to daily check the Pumps and card swiping terminals for
           possible sources of Skimming.

           FIRST RIGHT OF REFUSAL. Supplier shall have a first right of refusal in the event Customer receives a bona
           fide offer to purchase the Location during the term of the Agreement. In the event that Supplier declines
           to purchase the property, Supplier shall have the right to renegotiate the Agreement and any ancillary
           contracts associated with the Location prior to the sale.


           UPFRONT PAYMENT. Supplier agrees to pay dealer $325,000.00 in upfront funds once the following
           conditions have been satisfied:
              1. Credit Check has been completed and approved.
              2. Background check has been completed and approved.
              3. All documentation has been completed and fully executed including a Landlord Waiver.
              4. Ownership and title of the property have been verified.
              5. Supply Agreement is fully executed and agreed to.
              6. No disputes as to the branding of the location.

           In the event that these conditions are not met, no upfront funds will be provided to Customer, and this
           Agreement shall be considered null and void immediately, with no further performance required by either
           Supplier or Customer.


                                                                    January 9, 2019
           EFFECTIVE DATE. The Effective Date of this Agreement is __________________________________.




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                                                   CERTIFICATION OF INSPECTION
                                                        CANOPY STRUCTURE


                I hereby certify, to the best of my knowledge, that the canopy structure at 2439 Walnut Hill Lane,
           Dallas, Texas 75229, is structurally sound. The canopy will be further evaluated by Total Imaging, Inc., or
           another MEX approved vendor, and in the event the canopy is found not to be structurally sound, I hereby
           agree to cover any and all costs associated with the repairs necessary to make it structurally sound.


           A copy of the inspection report will be attached to this Certification.




           By: ___________________________________________
                    Gaurab Basnet




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                                                CERTIFICATION OF TANK CLEANING


                 I hereby certify that the underground motor fuel storage tanks have been properly cleaned within the
           last one hundred and eighty (180) days, or that cleaning has been rendered unnecessary, so as to comply
           with the requirements of Paragraph 11 of this Agreement. In the event that a cleaning of the tanks
           becomes necessary, I hereby agree to cover any and all costs associated with the cleaning and will send
           appropriate documentation to MEX.


           A copy of the invoice or other such documentation provided by a contractor has been attached to this
           Certification.




           By: ___________________________________________
                    Gaurab Basnet




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                                         CERTIFICATION OF TANK INSPECTION/INTEGRITY


                 I hereby certify that the underground motor fuel storage tanks have been properly inspected pursuant
           to the requirements of Paragraph 11 of this Agreement. In the event the motor fuel storage tanks are found
           to be structurally deficient, I hereby agree to cover any and all costs associated with the repairs necessary
           to make them structurally sound.


           A copy of the inspection report has been attached to this Certification.




           By: ___________________________________________
                    Gaurab Basnet




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                                               CERTIFICATION OF BUILDING PERMITS


                 I hereby certify that in the event Building Permits are required for any necessary repairs, upgrades,
           equipment installation, branding, or otherwise, at 2439 Walnut Hill Lane, Dallas, Texas 75229, that all
           required Building Permits will be applied for within five (5) days of receiving notice that Building Permits
           are necessary. Copies of applications and Building Permits, when received, shall be provided to MEX within
           five (5) days of application and/or receipt.




           By: ___________________________________________
                    Gaurab Basnet




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             Mountain Express Oil Company


             Credit Card Schedule

             Sales at Store    Column1 Notice to MEX         $$$ to MEX     $$$ to Customer

             Monday                        Tuesday           Wednesday      Thursday
             Tuesday                       Wednesday         Thursday       Friday
             Wednesday                     Thursday          Friday         Monday
             Thursday                      Friday            Monday         Tuesday
             Friday                        Monday            Monday         Tuesday
             Saturday                      Monday            Monday         Tuesday
             Sunday                        Monday            Tuesday        Wednesday




             Billing Terms                                   (Assuming 7 day payment terms)
                                                             Delivery Date Draft Notice       Payment Due
             Load to Load
             Payment is due at the earlier of                Saturday       Friday            Monday
             10 days or the date a new load                  Sunday         Friday            Monday
             is delivered.                                   Monday         Friday            Monday
                                                             Tuesday        Monday            Tuesday
             7 Days                                          Wednesday      Monday            Wednesday
             Payment is due within 7 days                    Thursday       Tuesday           Thursday
             from date of delivery.                          Friday         Wednesday         Friday




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